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    1 RIMON, P.C.
      Mark Lee (SBN 94103)
    2 mark.lee@rimonlaw.com
      2029 Century Park East, Suite 400N
    3 Los Angeles, California 90067
      Telephone/Facsimile: 213.375.3811
    4
      RIMON, P.C.
    5 Zheng Liu (SBN: 229311)
      zheng.liu@rimonlaw.com
    6 800 Oak Grove Avenue, Suite 250
      Menlo Park, California 94025
    7 Telephone/Facsimile: 650.461.4433
    8 Attorneys for Defendants
      INTERFOCUS INC. d.b.a. www.patpat.com
    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              SECOND DECLARATION OF
                   Plaintiff,                      MARK S. LEE IN SUPPORT OF
   15                                              MOTION FOR SUMMARY
            v.                                     JUDGMENT ON COPYRIGHT
   16                                              INVALIDITY ISSUE
      INTERFOCUS, INC. d.b.a.
   17 www.patpat.com, a Delaware                   Filed Concurrently with Reply in
      Corporation; CAN WANG, and                   Motion for Summary Judgment and
   18 individual, and DOES 1-10, inclusive.,       Memorandum of Points and Authorities
   19              Defendants.                     Date: December 6, 2021
                                                   Time: 10:00 am
   20                                              Courtroom: Courtroom 8D
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware                   The Hon. Christina A. Snyder
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28
                                               1
            DECLARATION OF MARK S. LEE ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
                                          INVALIDITY ISSUE
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    1         I, Mark S. Lee, declare:
    2         1.    I am a lawyer admitted to practice before this Court, and am a partner
    3 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    4 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    5 except where otherwise indicated based on my personal participation in the matters
    6 described, and if called upon as a witness, I could and would competently testify
    7 thereto.
    8         2.    On November 1, 2021, this office filed a supplemental brief and other
    9 supporting evidence in connection with a continued hearing this Court set for
   10 December 6, 2021. That supplemental brief raised the issue of the invalidity of the
   11 copyright registrations on which Plaintiff bases its copyright infringement claims
   12 herein based on knowing factual inaccuracies within them, and asked the Court to
   13 enter summary judgment for Defendant if the Copyright Office determined that the
   14 registrations would have been refused if it had known the true facts concerning
   15 those registrations. A declaration from me was filed with that supplemental brief,
   16 and attached as Exhibit 1 to that declaration were some excerpts from the deposition
   17 of Yoel Neman I took on October 27, 2021. That declaration also attached Exhibits
   18 2 and 3 in support of InterFocus’ position as stated in that supplemental brief.
   19         3.    On November 4, 2021, this office filed a motion for summary judgment
   20 on the copyright invalidity issue to accommodate certain procedural concerns raised
   21 by opposing counsel as described in a declaration filed with that motion. That
   22 motion attached an Exhibit 4 to that declaration. It was designated Exhibit 4 because
   23 my November 1 declaration included Exhibits 1, 2 and 3.
   24         4.    The concurrently filed reply brief cites deposition excerpts from the
   25 deposition of Yoel Neman. Most of those excerpts were attached as Exhibit 1 to my
   26 November 1, 2021 declaration, but there are two pages from Mr. Neman’s
   27 deposition cited in the concurrently filed reply brief that were not included in
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            DECLARATION OF MARK S. LEE ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
                                          INVALIDITY ISSUE
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    1 Exhibit 1. True and correct copies of those newly cited pages from Mr. Neman’s
    2 deposition are attached as Exhibit 5 in support of InterFocus’ motion.
    3        I declare under penalty of perjury under the laws of the United States that the
    4 foregoing is true and correct. Executed this November 22, 2021, at Los Angeles,
    5 California.
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                                                     /s/ Mark S. Lee
    7                                                Mark S. Lee
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            DECLARATION OF MARK S. LEE ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
                                          INVALIDITY ISSUE
